USCA4 Appeal: 23-7005      Doc: 9         Filed: 08/26/2024    Pg: 1 of 2




                                             UNPUBLISHED

                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT


                                               No. 23-7005


        UNITED STATES OF AMERICA,

                             Plaintiff - Appellee,

                      v.

        CHARLES ANTHONY WALKER, JR., a/k/a Supreme, a/k/a Preme,

                             Defendant - Appellant.



        Appeal from the United States District Court for the Eastern District of North Carolina, at
        Elizabeth City. Louise W. Flanagan, District Judge. (2:18-cr-00037-FL-1)


        Submitted: August 22, 2024                                        Decided: August 26, 2024


        Before WILKINSON, WYNN, and RICHARDSON, Circuit Judges.


        Affirmed by unpublished per curiam opinion.


        Charles Anthony Walker, Jr., Appellant Pro Se.


        Unpublished opinions are not binding precedent in this circuit.
USCA4 Appeal: 23-7005      Doc: 9        Filed: 08/26/2024     Pg: 2 of 2




        PER CURIAM:

              Charles Anthony Walker, Jr., appeals the district court’s order granting the

        Government’s motion to authorize a payment from Walker’s inmate trust account and

        denying Walker’s related motion to return funds. We have reviewed the record and find

        no reversible error. Accordingly, we affirm the district court’s order. United States v.

        Walker, No. 2:18-cr-00037-FL-1 (E.D.N.C. Sept. 25, 2023). We dispense with oral

        argument because the facts and legal contentions are adequately presented in the materials

        before this court and argument would not aid the decisional process.

                                                                                     AFFIRMED




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